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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )                CASE NO. 1:09CR00278-002
                                             )
       Plaintiff,                            )                JUDGE: JAMES S. GWIN
                                             )
vs.                                          )                ORDER
                                             )
EVA ARLINE JONES,                            )
                                             )
       Defendant.                            )



       This matter was heard on April 18, 2011, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of her supervised

release. The defendant was present and represented by Carolyn Kucharski.

       Referral of the violation petition was made to Magistrate Judge Kenneth McHargh and

defendant, at the time of her initial appearance before the Magistrate Judge on March 30, 2011,

waived the detention hearing and the preliminary examination and admitted to the violations in

the petition. A Report and Recommendation was entered on April 5, 2011. Defendant’s

Objection to the Report and Recommendation was entered April 6, 2011.

        Defendant, at the time of her appearance before the Court on April 18, 2011, admitted to

and the Court found that the following violations occurred:

               1) escape from Oriana House on march 1, 2011;

               2) illicit drug use on/about February 14, 2011;

               3) new law violation on November 5, 2010;
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               4) new law violation on November 9, 2010;

               5) new law violation on November 22, 2010.

       The Court adopts the Report and Recommendation, in part. Defendant is sentenced to a

term of 8 months incarceration and is granted credit for time served in federal custody on the

violations. Upon release from incarceration defendant shall serve an additional two years of

supervised release under the same conditions earlier imposed and the Court approves the transfer

of supervision to Alabama.

       The Court recommends that the Bureau of Prisons attempt to place defendant in a facility

near her family in Adamsville, Alabama.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: April 19, 2011                                s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
